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 5
                                  UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF OREGON
 7
                                          PORTLAND DIVISION
 8

 9
     STACIE MARTINEZ,                                   Case No.
10
                         Plaintiff,
11
     v.
12
                                                        PLAINTIFF’S COMPLAINT FOR
                                                        DAMAGES AND DEMAND FOR JURY
13
                                                        TRIAL
     CHASE BANK USA, N.A.,
14

15
                        Defendant.

16

17
                                               COMPLAINT
18
             STACIE MARTINEZ (“Plaintiff”), by her attorney, alleges the following against
19
     CHASE BANK USA, N.A. (“Defendant”):
20
          1. Plaintiff brings this action on behalf of herself individually seeking damages and any other
21

22
             available legal or equitable remedies resulting from the illegal actions of Defendant, in

23           negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular

24           telephone in violation of the Telephone Consumer Protection Act (hereinafter “TCPA”),

25           47 U.S.C. § 227 et seq.



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                                   JURISDICTION AND VENUE
 1
     2. Defendant conducts business in the state of Oregon, and therefore, personal jurisdiction is
 2

 3      established.

 4   3. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,

 5      Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012), holding that federal and

 6      state courts have concurrent jurisdiction over private suits arising under the TCPA.
 7   4. Venue is proper in the United States District Court for the District of Oregon pursuant to
 8
        28 U.S.C § 1391(b) because Plaintiff resides within this District and a substantial part of
 9
        the events or omissions giving rise to the herein claims occurred within this District.
10
                                             PARTIES
11
     5. Plaintiff is a natural person residing in the county of Clackamas in the city of Portland,
12
        Oregon and is otherwise sui juris.
13
     6. Defendant is a nationally chartered bank doing business in the State of Oregon, with its
14

15
        principal place of business located in Wilmington, Delaware.

16   7. At all times relevant to this Complaint, Defendant has acted through its agents, employees,

17      officers, members, directors, heir, successors, assigns, principals, trustees, sureties,

18      subrogees, representatives and insurers.

19                                 FACTUAL ALLEGATIONS
20
     8. Defendant is a “person” as defined by 47 U.S.C. § 153 (39).
21
     9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged
22
        debts owed by Plaintiff.
23
     10. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (971)
24
        570-71XX.
25




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     11. Defendant places collection calls to Plaintiff from phone numbers including, but not
 1
        limited to, (210) 520-0146; (210) 520-0004; (602) 221-1003; (602) 253-6722; (813) 372-
 2

 3      1900; (407) 732-2415; (847) 426-9145; and (813) 372-1900; and (847) 488-2001.

 4   12. Per its prior business practices, Defendant’s calls were placed with an automated telephone

 5      dialing system (“auto-dialer”).

 6   13. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)
 7      (1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly
 8
        owed by Plaintiff, STACIE MARTINEZ.
 9
     14. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47
10
        U.S.C. § 227(b)(1)(A).
11
     15. Defendant’s calls were placed to a telephone number assigned to a cellular telephone
12
        service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
13
        227(b)(1).
14

15
     16. Defendant never received Plaintiff’s “prior express consent” to receive calls using an

16      automatic telephone dialing system or an artificial or prerecorded voice on her cellular

17      telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

18   17. On May 15, 2018, at or around 1:00 p. m. Pacific Standard Time, Plaintiff spoke with

19      Defendant’s female representative at phone number (210) 520-0146 and requested that
20
        Defendant cease calling Plaintiff’s cellular phone.
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     18. During the conversation, Plaintiff gave Defendant both her name and account number to
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        assist Defendant in accessing her account before asking Defendant to stop calling her cell
23
        phone regarding all her accounts.
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                                      PLAINTIFF’S COMPLAINT
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       19. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone
 1
          and/or to receive Defendant’s calls using an automatic telephone dialing system in her
 2

 3        conversation with Defendant’s representative on May 15, 2018.

 4     20. Despite Plaintiff’s request to cease, Defendant continued to place collection calls to

 5        Plaintiff through September 14, 2018.

 6     21. Despite Plaintiff’s request that Defendant cease placing automated collection calls,
 7        Defendant placed at least Ninety-Seven (97) automated calls to Plaintiff’s cell phone.
 8
                                      FIRST CAUSE OF ACTION
 9
     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
10
                                              47 U.S.C. § 227
11
       22. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
12

13        forth above at Paragraphs 1-21.

14     23. The foregoing acts and omissions of Defendant constitute numerous and multiple

15        negligent violations of the TCPA, including but not limited to each and every one of the

16        above cited provisions of 47 U.S.C. § 227 et seq.
17     24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is
18
          entitled to an award of $500.00 in statutory damages, for each and every violation,
19
          pursuant to 47 U.S.C. §227(b)(3)(B).
20
       25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
21
                                    SECOND CAUSE OF ACTION
22
     KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
23
                             PROTECTION ACT 47 U.S.C. § 227 et. seq.
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        26. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
 1
           forth above at Paragraphs 1-21.
 2

 3      27. The foregoing acts and omissions of Defendant constitute numerous and multiple knowing

 4         and/or willful violations of the TCPA, including but not limited to each and every one of

 5         the above cited provisions of 47 U.S.C. § 227 et seq.

 6      28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
 7         Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
 8
           violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 9
        29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
10
                                         PRAYER FOR RELIEF
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           WHEREFORE, Plaintiff, STACIE MARTINEZ, respectfully requests judgment be
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     entered against Defendant, CHASE BANK USA, N.A., for the following:
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                                        FIRST CAUSE OF ACTION
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        30. For statutory damages of $500.00 multiplied by the number of TCPA violations alleged

16         herein (97), $48,500.00;

17      31. Actual damages and compensatory damages according to proof at time of trial;

18                                    SECOND CAUSE OF ACTION

19      32. For statutory damages $1,500.00 multiplied by the number of TCPA violations alleged
20
           herein (97), $145,500.00;
21
        33. Actual damages and compensatory damages according to proof at time of trial;
22
                                      ON ALL CAUSES OF ACTION
23
        34. Litigation costs and reasonable attorneys’ fees;
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        35. Any other relief that this Honorable Court deems appropriate.
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                                      JURY TRIAL DEMAND
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     36. Plaintiff demands a jury trial on all issues so triable.
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 3                                               RESPECTFULLY SUBMITTED,

 4       Dated: January 22, 2018

 5                                               /s/ James A. Sellers
                                                 James A. Sellers, #184404
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                                        PLAINTIFF’S COMPLAINT
